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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

KERI SPRING; EUGENE SPRING; JULIANNE
SPRING; EUGENE SPRING and KERI
SPRING on behalf of GREGORY SPRING; and
KERI SPRING, as the duly appointed
administrator of the ESTATE OF GREGORY
SPRING,

                            Plaintiffs,
       v.                                                    DECISION AND ORDER
                                                                 14-CV-476S
ALLEGANY-LIMESTONE CENTRAL SCHOOL
DISTRICT, et al.,

                            Defendants.




                                 I.       INTRODUCTION

       Plaintiffs commenced this action on June 17, 2014, asserting claims pursuant to

42 U.S.C. § 1983; the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“ADA”);

the Rehabilitation Act of 1973, 29 U.S.C. § 701 (“Rehabilitation Act”); New York Civil

Rights Law § 79-n; New York Estate Powers & Trusts Law (“EPTL”) § 5-4.1; and New

York State common law. This Court granted a motion to dismiss Plaintiffs’ Amended

Complaint on September 30, 2015. Spring v. Allegany-Limestone Cent. Sch. Dist., 138

F. Supp. 3d 282 (W.D.N.Y. 2015) (“Spring I”).        Plaintiffs then moved to vacate the

judgment and file a Second Amended Complaint, which this Court denied on November

4, 2015. (Docket No. 74.)

       Plaintiffs appealed that denial to the Second Circuit, which affirmed the dismissal

of Plaintiffs’ equal protection claims, substantive due process claims, retaliation claims,

Monell liability claims, and state constitutional claims, but vacated this Court’s denial of


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leave to amend the complaint related to the ADA and Rehabilitation Act claims and the

order declining to exercise supplemental jurisdiction over the state statutory and common-

law claims. See Spring v. Allegany-Limestone Cent. Sch. Dist., 655 F. App’x 25 (2d Cir.

2016) (“Spring II”). Consistent with that decision, Plaintiffs filed their Second Amended

Complaint (“SAC”) on August 31, 2016. (Docket No. 80.)

        Presently before this Court are motions from Defendants Allegany-Limestone

Central School District, Jeff Black, Robert Decker, David Farrell, Karen Geelan, Eric

Hemphill, Matthew Kahm, Christopher Kenyon, Jay King, Maggie Nuss, Kim Palmer, Phil

Quinlan, Sue Schifley, Kevin Straub, the Board of Education of the Allegany-Limestone

Central School District, John Wolfgang, Joe Zimmer, and Diane Lowry1 (together, the

“School Defendants”), Michael Easton, and Jacob Roewe, seeking dismissal of the SAC,

as well as a Cross-Motion from Plaintiffs seeking leave to file a Proposed Third Amended

Complaint (“TAC”). For the reasons that follow, Plaintiffs’ Cross-Motion to file the TAC is

granted in part. The motions of the School Defendants and Lowry are granted in part and

denied in part. The motions of Easton and Roewe are denied.

                           II.     PLAINTIFFS’ MOTION TO AMEND

        This Court first addresses Plaintiffs’ Cross-Motion to Amend their Complaint. The

Federal Rules of Civil Procedure direct that courts “should freely give leave” to amend a

complaint “when justice so requires.” Fed. R. Civ. P. 15(a)(2). The Second Circuit has

held that “[t]his permissive standard is consistent with [its] strong preference for resolving




1 Defendant Diane Lowry is separately represented and has separately moved for dismissal of the claims
against her. (Docket No. 85.) Nonetheless, to the extent that Plaintiffs allege claims against the “School
District and its Defendant employees and agents,” the Court will construe the claim as being asserted
against both the School Defendants and Lowry. Defendant Lowry’s motion also incorporates by reference
the arguments of her codefendants.

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disputes on the merits.” Williams v. Citigroup Inc., 659 F.3d 208, 212-13 (2d Cir. 2011)

(internal quotation marks omitted). This liberality is tempered where a judgment has been

entered, but that is not the case here. Therefore, although Plaintiffs have been given two

previous opportunities to amend their pleadings—once as of right, and once by order of

the Second Circuit—this Court finds that justice dictates a third opportunity. The motion

to amend is granted, and this Court will consider the allegations of the TAC for purposes

of the pending motions to dismiss.

                                         III.    BACKGROUND

          This action arises from the tragic suicide of high school student Gregory Spring on

June 17, 2013. As described in the TAC, Gregory2 was a special education student who

suffered from disabilities including Tourette’s Syndrome, ADHD, and Callosum

Dysgensis. (TAC at ¶¶ 32-33.) “Sufferers of DCC (Dysgenesis of the Corpus Collosum)

often experience challenges with social interactions due to difficulty imagining potential

consequences of behavior, being insensitive to the thoughts and feelings of others, and

misunderstanding social cues (for example, being vulnerable to suggestion, gullible, and

not recognizing emotions communicated by tone of voice).” (TAC at ¶ 33 (citing an “April

7, 2011 Psychoeducational Evaluation of the Defendant Allegany-Limestone Central

School”).) Plaintiffs allege that these disabilities impacted Gregory’s ability to speak,

learn, read, concentrate, think, and communicate. Gregory’s disabilities also presented

in the form of motor and vocal tics, including “regular and frequent swallowing sounds,

outbursts, involuntary knee slapping and eye blinking tics and compulsive cracking of his

neck and wrists; repetitive utterance of foul language including the ‘F’ word and repetitive



2 For   ease of reference, the Spring family members are referred to by their given names.

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questioning.” (Id.)

       Plaintiffs allege that, during middle school and high school, Gregory “was

subjected to numerous acts of fear and intimidation including . . . teasing, taunting,

bullying, name calling, violence, offensive touching, hitting, interference with

relationships, and public and private humiliation—conduct motivated in whole or part by

his disabilities.” (TAC at ¶ 41.) The name calling included “retard” and “dummy”, and his

classmates also “mocked and mimicked his disability related tics . . . on a regular, daily,

or near daily basis.” (Id.)

       Plaintiffs allege one incident in April 2012 when Gregory was disciplined and

removed from the school’s baseball team as a result of “horseplay” by Hamphill and

Kenyon, who were both teachers and coaches. (TAC at ¶ 49.) In another incident, on

November 8, 2012:

       In response to unrelenting harassment and bullying by [fellow student]
       Defendant Michael Easton, Gregory Spring physically responded to Easton.
       Upon information and belief, Gregory Spring’s conduct was a manifestation
       of his disability. Gregory Spring was immediately suspended and punished
       by Defendant [Assistant Principal] Straub for this incident. No manifestation
       hearing was provided or waived by Plaintiffs even though multiple students
       came forward to support Gregory’s claim that said student engaged in acts
       of bullying toward him. Upon information and belief, Defendant Straub
       failed to discipline [Easton].

(TAC at ¶¶ 21, 27, 42.) Plaintiffs allege that, following this incident, Easton, “with the aid,

encouragement, sanction, and facilitation of the School District Defendants, on or about

November, 2012 initiated criminal prosecution against Gregory Spring. Upon information

and belief, Straub met with Easton and his parents, encouraged and facilitated the contact

of law enforcement authorities to bring charges against Gregory Spring.” (TAC at ¶ 56.)

       Plaintiffs allege that, although Gregory’s mother Keri “continuously and on



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occasions too numerous to mention sought the assistance of school officials,” the bullying

conduct was “minimized, dismissed and ignored by the school district’s staff and officials,

including the named Defendants.” (TAC at ¶ 56.) For example, after the November 2012

incident, Easton and fellow student Roewe escalated their harassment of Gregory,

following him around school and finding him at his place of work, and “calling him ‘retard’

and other disparaging names, mocking and mimicking his disability related tics,

threatening to ‘kill’ and ‘beat’ him.” (Id.) Plaintiffs allege that Keri met with Straub on “no

less than six . . . different occasions between January and June 2013” to complain

regarding this escalation, but no action was taken. (Id.) Throughout these meetings,

Plaintiffs allege that Keri and Gregory both made clear that the bullying conduct was due

to Gregory’s disabilities and referenced the mocking and mimicking of his disability-

related tics. (Id.) At one such meeting in February or March 2013, Keri allegedly advised

Straub that she was concerned that her son might harm himself and showed him copies

of news articles dealing with bullying, including an article titled “Tormented to Death.” (Id.)

At another meeting in March or April 2013, Gregory and Keri went together to see Straub

and requested that the school intervene in the bullying. Straub allegedly refused, stating

that Gregory was “just trying to get [Easton and Roewe] in trouble.” (Id.) This allegedly

resulted in additional escalation, including “taunts by Defendant Roewe about how he and

Easton were free to do anything against Gregory.” (Id.) Finally, at a meeting in April or

May 2013, Keri allegedly brought a book about bullying called “Words Matter” to Straub

and stated again that she was concerned that her son might harm himself. (Id.) Keri also

allegedly told Straub that the school’s failure to act was due to Gregory’s disabilities. (Id.)

After Gregory’s death, Straub allegedly admitted that he failed to act when he should



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have, and expressed regret for his and the School’s lack of response. (Id.)

       Plaintiffs allege that Keri also informed Wolfgang, Geelan, Straub, Kenyon,

Schifley, and King of her concerns. (TAC at ¶ 45.) In the fall of 2012, Keri contacted

Geelan, Straub, Schifley, and King in person, by phone, and by email to inform them of

the bullying and harassment and to discuss the absence of an anti-bullying policy. (Id.)

Board Members King, and Schifley allegedly told Keri that her concerns regarding the

bullying would be brought to the attention to the full Board in Executive Session. (TAC at

¶ 47.) However, Plaintiffs allege that the Board did not take any protective or corrective

action, including the adoption of an anti-bullying policy. (TAC at ¶ 46.) Plaintiff allege

that this failure to act “was the product of discriminatory animus of School officials

because of Gregory Spring’s disabilities.” (TAC at ¶ 47.) Plaintiffs also allege that

multiple “faculty members (Ms. Missel, Mr. Gilbert, Ms. Connie Spring, Mr. Austin,

Defendants Lowry, Kenyon, Hemphill, etc.) spoke negatively about Gregory Spring calling

him names such as ‘misfit’, ‘troublemaker’, ‘baby’, etc. in the presence of faculty, staff and

students.” (TAC at ¶ 47.)

       Plaintiffs allege that “[d]ue to Defendants’ acts and omissions, including

negligence, gross negligence, recklessness and/or deliberate indifference to disabilities,

bullying, and discriminatory conduct against Gregory Spring, they caused him severe

emotional distress, humiliation, embarrassment, and self-loathing causing and/or

contributing to his suicide on June 17, 2013.” (TAC at ¶ 54.) Two days after Gregory’s

suicide, on June 19, 2013, Lowry, a teacher’s assistant, “authored and spoke statements

and posted comments via internet and on-line pertaining to Gregory Spring and his death,

falsely accusing him of misconduct and otherwise disparaging him and inflicting severe



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emotional distress upon the Plaintiffs herein.” (TAC at ¶¶ 22, 57.) The specific statements

or contents of Lowry’s comments are not described in the TAC. Plaintiffs allege, on

information and belief, that Easton and Roewe also authored, made statements, and

posted comments via internet and on-line pertaining to Gregory’s death, stating:

“HAHAHAHAHAHA HE DIED!!!!!! I HOPE HE IS IN HELLLLLLLLLL.” (TAC at ¶ 57.)

                                     IV.    DISCUSSION

       Defendants move under Rule 12(b)(6), which allows dismissal of a complaint for

“failure to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In

considering a motion to dismiss pursuant to Rule 12(b)(6), this Court must accept all

factual allegations in the complaint as true and make all reasonable inferences in a

plaintiff’s favor. ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007);

Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009)

(assumption of truth applies only to factual allegations and is inapplicable to legal

conclusions).

       In order to survive a motion to dismiss, a complaint must “contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556

U.S. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167

L. Ed. 2d 929 (2007)); ATSI Commc’ns, Inc., 493 F.3d at 98. Although a plaintiff is not

required to provide “specific facts”, the complaint must “give the defendant fair notice of

what the claim is and the grounds upon which it rests” in order to survive a motion to

dismiss. See Boykin v. KeyCorp, 521 F.3d 202, 214 (2d Cir. 2008). “As the Court held

in Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167 L. Ed. 2d 929, the pleading standard

Rule 8 announces does not require ‘detailed factual allegations,’ but it demands more



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than an unadorned, the-defendant-unlawfully-harmed-me accusation.”                Id. (quoting

Twombly, 550 U.S. at 555).

A.     The Mandate Rule

       The Second Circuit’s summary order affirmed dismissal of certain claims while

vacating the dismissal of others. Both parties make arguments regarding the claims for

which the Second Circuit affirmed dismissal. Plaintiffs argue that the dismissed claims

should be reinstated based on the new allegations in the TAC; Defendants argue that the

claims should be struck from the operative complaint pursuant to the mandate rule.

       The summary order essentially contained six rulings. First, the order vacated this

Court’s denial of leave to amend Plaintiffs’ claims in order to file a Second Amended

Complaint. Spring II, 655 F. App’x at 27-28. Second, it vacated the judgment dismissing

Plaintiffs’ ADA and Rehabilitation Act claims. Id. Third, it affirmed dismissal of the

substantive due process claims, though on the alternate ground that Plaintiffs’ had failed

to allege deliberate indifference because “there are no facts alleged from which [the

Appellate Court] can plausibly infer that any individual defendant had actual knowledge

of yet disregarded an obvious or excessive risk of Gregory’s suicide.” Id. at 28. Fourth,

it affirmed dismissal of the equal protection claims, finding that there were no allegations

of disparate treatment.     Id.   And, citing Gant ex rel. Gant v. Wallingford Board of

Education, 195 F.3d 134, 141 (2d Cir. 1999), it made a separate finding with respect to

the equal protection claim that “[t]he factual allegations are insufficient to establish

deliberate indifference of the kind we have required in the context of racial or sexual

harassment in schools.” Spring II, 655 F. App’x at 28-29. Fifth, the Second Circuit

affirmed dismissal of “the retaliation claims, Monell liability claims, and state constitutional



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claims.”   Id.   Finally, it “vacate[d] the order and judgment of the District Court for

consideration of whether supplemental jurisdiction over [the state statutory and common-

law claims] should be exercised in light of our remand of the ADA and Rehabilitation Act

claims.” Id. at 29.

       Under the mandate rule, “where issues have been explicitly or implicitly decided

on appeal, the district court is obliged, on remand, to follow the decision of the appellate

court.” United States v. Minicone, 994 F.2d 86, 89 (2d Cir. 1993); United States v. Ben

Zvi, 242 F.3d 89, 95 (2d Cir. 2001) (“The mandate rule compels compliance on remand

with the dictates of the superior court and forecloses relitigation of issues expressly or

impliedly decided by the appellate court.” (citation and internal quotation marks omitted)).

“In other words, the trial court is barred from reconsidering or modifying any of its prior

decisions that have been ruled on by the court of appeals.” Id. (internal citation and

quotation marks omitted). Because the Second Circuit expressly affirmed dismissal of

the substantive due process, equal protection, and New York State Constitution claims,

there can be no doubt that their reinstatement is barred by the mandate rule.

       The mandate is less clear with respect to the ADA and Rehabilitation Act claims.

In Spring I, those claims were dismissed on the basis that Plaintiffs had failed to

sufficiently allege that Gregory suffered from a disability. 138 F. Supp. 3d at 298-99. In

vacating the denial of leave to amend and dismissal of the claims, the Second Circuit

found that proposed amendments in the SAC “would have sufficed to meet the

requirements of a qualifying disability” under the ADA and Rehabilitation Act. Spring II,

655 F. App’x at 27-28. It made no findings as to any other element of the ADA and

Rehabilitation Act claims, including deliberate indifference.



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       However, in affirming dismissal of Plaintiffs’ substantive due process claim, it held

that Plaintiffs had not sufficiently alleged deliberate indifference because “there are no

facts alleged from which we can plausibly infer that any individual defendant had actual

knowledge of yet disregarded an obvious or excessive risk of Gregory’s suicide.” Id. at

28. It further held, in affirming dismissal of the equal protection claim, that “[t]he factual

allegations are insufficient to establish deliberate indifference of the kind we have required

in the context of racial or sexual harassment in schools.” Id. at 28-29 (citing Gant, 195

F.3d at 141). Defendants now argue that, because deliberate indifference is also a

necessary element of Plaintiffs’ ADA and Rehabilitation Act claims, and because the

Second Circuit has already held that Plaintiffs failed to plead deliberate indifference as to

their other federal claims, this Court must dismiss the ADA and Rehabilitation Act claims

under the mandate rule.

       In order to determine whether the issue of deliberate indifference in the ADA and

Rehabilitation Act claims remains open for consideration, this Court must “look to both

the specific dictates of the remand order as well as the broader ‘spirit of the mandate.’”

Parmalat Capital Fin. Ltd. v. Bank of Am. Corp., 671 F.3d 261, 270 (2d Cir. 2012) (quoting

Ben Zvi, 242 F.3d at 95). “In following a mandate, the lower court must carry out its duty

to give the mandate ‘full effect.’” In re Coudert Bros. LLP, 809 F.3d 94, 98 (2d Cir. 2015)

(quoting Ginett v. Comput. Task Grp., Inc., 11 F.3d 359, 360-61 (2d Cir. 1993)); see

United States v. E.I. du Pont de Nemours & Co., 366 U.S. 316, 325, 81 S. Ct. 1243, 6 L.

Ed. 2d 318 (1961) (mandate must be “scrupulously and fully carried out”). “The lower

court ‘cannot vary it, or examine it for any other purpose than execution; or give any other

or further relief; or review it, even for apparent error, upon any matter decided on appeal;



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or intermeddle with it, further than to settle so much as has been remanded.’” Id. (quoting

In re Sanford Fork & Tool Co., 160 U.S. 247, 255, 16 S. Ct. 291, 293, 40 L. Ed. 414

(1895)).   Based on the “spirit of the mandate,” this Court finds that the ADA and

Rehabilitation Act discrimination claims were not foreclosed by the summary order. The

Second Circuit had the opportunity to consider and dismiss the claims based on the failure

to allege deliberate indifference, but did not do so. See Sompo Japan Ins. Co. of Am. v.

Norfolk S. Ry. Co., 762 F.3d 165, 175-76 (2d Cir. 2014) (district court did not violate

mandate rule in “addressing on remand an issue that was not decided by this Court in the

original appeal”); New England Ins. Co. v. Healthcare Underwriters Mut. Ins. Co., 352

F.3d 599, 606 (2d Cir. 2003) (“Put simply, the law of the case does not extend to issues

an appellate court did not address.” (internal quotation omitted)). Further, as discussed

below, this Court finds that the additional allegations set forth in the TAC have remedied

any prior deficiencies.    Accordingly, this Court finds that it is not precluded from

considering the discrimination claims under the mandate rule.

       The mandate is also less clear with respect to the retaliation claims. Plaintiffs

brought retaliation claims under the First Amendment, as well as ADA and Rehabilitation

Act. The Second Circuit affirmed dismissal of “retaliation” claims “for substantially the

reasons stated” in Spring I, without identifying whether the affirmance applied to the First

Amendment retaliation claims, ADA and Rehabilitation Act retaliation claims, or all claims.

Spring II, 655 F. App'x at 29. The reason given for dismissal of the retaliation claims in

Spring I was separate and unique from the reason for dismissal of the ADA and

Rehabilitation Act claims, and that reasoning was not discussed or addressed in the

summary order.     See Spring I, 138 F. Supp. 3d at 299-300 (dismissing ADA and



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Rehabilitation Act retaliation claims because Plaintiffs failed to allege complaints prior to

a retaliatory act). But, unlike deliberate indifference, retaliation is not simply an element

of a claim, but is its own cause of action. Because there is no basis from which to

determine whether the Second Circuit intended to affirm dismissal of all retaliation claims

or only a subset, this Court will consider all retaliation claims dismissed so as to

“scrupulously and fully carr[y] out” the higher court’s mandate. See E.I. du Pont de

Nemours & Co., 366 U.S. at 325, 81 S. Ct. 1243, 6 L. Ed. 2d 318.

       Accordingly, the remaining causes of action are discrimination claims under the

ADA and Rehabilitation Act, and the New York State statutory and common law claims.

B.     ADA and Rehabilitation Act

       Having determined that Spring II did not foreclose this Court’s consideration of the

ADA and Rehabilitation Act claims, and having granted Plaintiffs’ motion to amend its

complaint, this Court now considers Defendants’ arguments in light of the additional

allegations set forth in the TAC. Title II of the ADA provides that “no qualified individual

with a disability shall, by reason of such disability, be excluded from participation in or be

denied the benefits of the services, programs, or activities of a public entity, or be

subjected to discrimination by any such entity.” 42 U.S.C. § 12132; Disabled in Action v.

Bd. of Elections in City of N.Y., 752 F.3d 189, 196 (2d Cir. 2014). Similarly, Section 504

of the Rehabilitation Act “prohibits programs and activities receiving federal financial

assistance from excluding, denying benefits to, or discriminating against ‘otherwise

qualified’” individuals with a disability. McElwee v. Cnty. of Orange, 700 F.3d 635, 640

(2d Cir. 2012) (quoting 29 U.S.C. § 794(a)); (see TAC ¶ 9 (alleging the Defendant School

District receives federal financial assistance). Claims under these statutes are generally



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analyzed identically. Preston v. Hilton Cent. School Dist., 876 F. Supp. 2d 235, 241

(W.D.N.Y. 2012) (citing Henrietta D. v. Bloomberg, 331 F.3d 261, 272 (2d Cir. 2003)).

       To state a prima facie cause of action under the relevant provisions of the ADA or

Rehabilitation Act, Plaintiffs must show “‘(1) that [Gregory] is a qualified individual with a

disability; (2) that the defendants are subject to [the pertinent statute]; and (3) that

[Gregory] was denied the opportunity to participate in or benefit from defendants' services,

programs, or activities, or was otherwise discriminated against by defendants, by reason

of [his] disability.’” Preston, 876 F. Supp. 2d at 241 (quoting Harris v. Mills, 572 F.3d 66,

73-74 (2d Cir. 2009)). The Second Circuit has held that the allegations satisfy the first

element, and there is no argument as to the second element’s applicability here.

Accordingly, this Court turns to the third element.

       The School Defendants argue that Plaintiffs cannot satisfy the third element

because they did not sufficiently allege that the harassment directed at Gregory was “by

reason of [his] disability.” Id. However, the TAC contains numerous allegations that are

consistent with disability-related harassment, including the general allegations that

Gregory was subjected to “acts of fear and intimidation including, but not limited to,

teasing, taunting, bullying, name calling, violence, offensive touching, hitting, interference

with relationships, and public and private humiliation—conduct motivated in whole or part

by his disabilities.” (TAC at ¶ 41.) It goes on to specify that that the name calling included

“retard” and “dummy”, and that his classmates “mocked and mimicked his disability

related tics . . . on a regular, daily, or near daily basis.” (Id.; see also TAC at ¶ 56.) Those

“disability related tics” are alleged to have included vocal spasms and motor contractions,

including “regular and frequent swallowing sounds, outbursts, involuntary knee slapping



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and eye blinking tics and compulsive cracking of his neck and wrists; repetitive utterance

of foul language including the ‘F’ word and repetitive questioning.” (TAC at ¶ 33.)

       Granting Plaintiffs all reasonable inferences based on these allegations, the TAC

alleges that Easton and Roewe, as well as other classmates, mimicked Gregory’s vocal

spasms and motor contractions, which are the outward signs of his disability, and taunted

him with mocking comments and name calling. (See TAC at ¶ 33, 41, 56.) Mimicry of a

disability, together with mocking comments, have previously been held to raise an issue

of fact as to whether harassment was related to disability in an ADA hostile-work-

environment claim. See Lewis v. Blackman Plumbing Supply L.L.C., 51 F. Supp. 3d 289,

312 (S.D.N.Y. 2014) (denying summary judgment where defendant mimicked disabled

plaintiff's gait and made mocking comments).        Similarly, “insults which specifically

referenced the perceived nature of [a plaintiff’s] disability” have been found to support a

disability discrimination claim.   Preston, 876 F. Supp. 2d at 242 (finding ADA and

Rehabilitation Act claim sufficiently pled where disabled plaintiff was called “fucking

retard” and “autistic piece of shit”). Moreover, as other courts have observed:

       Studies have shown that students with a disability, whether it is visible or
       non-visible, are subject to increased bullying that is often directed at the
       disability. These students are also at more risk for bullying directed at
       factors other than their disability. Harassing conduct may take many forms,
       including verbal acts and name-calling, as well as nonverbal behavior, such
       as graphic written statements, or conduct that is physically threatening,
       harmful, or humiliating.

T.K. v. New York City Dep't of Educ., 779 F. Supp. 2d 289, 303 (E.D.N.Y. 2011) (internal

citations omitted); see also Preston, 876 F. Supp. 2d at 242; cf. Eskenazi-McGibney v.

Connetquot Cent. Sch. Dist., 84 F. Supp. 3d 221, 233 (E.D.N.Y. 2015) (noting that,

despite the increased risk of discrimination for disabled students, the ADA and



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Rehabilitation Act are not “generalized anti-bullying statutes”). Accordingly, this Court

finds that Plaintiffs have sufficiently pled that the alleged harassment was not merely

generalized bullying, but was instead related to the perceived nature of Gregory’s

disability.

        Defendants further contend that Plaintiffs have failed to sufficiently allege

discrimination by the School Defendants, which can arise either through deliberate

indifference or direct action. To establish deliberate indifference with respect to the ADA

and Rehabilitation Act, “a plaintiff must show that the defendant's indifference was such

that the defendant intended the discrimination to occur. It is not necessary to prove that

the defendant fully appreciated the harmful consequences of that discrimination, because

deliberate indifference is not the same as action (or inaction) taken ‘maliciously or

sadistically for the very purpose of causing harm.’” Gant, 195 F.3d at 141 (quoting Farmer

v. Brennan, 511 U.S. 825, 835, 114 S. Ct. 1970, 1978, 128 L. Ed. 2d 811 (1994) (internal

quotation marks omitted)).    “Instead, deliberate indifference can be found when the

defendant’s response to known discrimination ‘is clearly unreasonable in light of the

known circumstances.’” Id. (quoting Davis Next Friend LaShonda D. v. Monroe Cty. Bd.

of Educ., 526 U.S. 629, 648, 119 S. Ct. 1661, 1674, 143 L. Ed. 2d 839 (1999)).

        The Second Circuit has held that this standard is not met where there are no

allegations that school employees were aware of harassment arising from a student’s

special status. See id. (no deliberate indifference where no evidence was presented that

teacher “knew of any racial name-calling other than [a single] incident”). That is not the

case here. Plaintiffs allege that Keri met with school officials “continuously and on

occasions too numerous to mention,” but that “the school district’s staff and officials,



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including the named Defendants” “minimized, dismissed and ignored” her complaints.

(TAC at ¶ 41.) Plaintiffs allege at least six meetings between Keri and Straub between

January and June 2013 alone. (TAC at ¶ 56.) In these meetings, Keri allegedly sought

the school’s intervention on behalf of her son, made clear that the bullying conduct was

due to Gregory’s disabilities by referencing the mimicry of his disability-related tics, and

told Straub that she believed the school’s failure to act was due to Gregory’s disabilities.

(Id.) Plaintiffs further allege that Keri spoke specifically of her fear that Gregory might

harm himself. (Id.) However, despite the repeated requests that the school act to stop

the bullying, Plaintiffs allege that no “protective or remedial action” was taken by any of

the School District Defendants. (Id.) Indeed, in refusing to take action, Straub allegedly

stated that Gregory was “just trying to get [Easton and Roewe] in trouble.” (Id.)

       Similar allegations to these have been held to sufficiently state a claim that school

officials “acted with deliberate indifference to the harassment of [a disabled student] by

his peers because of his disability, and that the defendants’ alleged conduct had the effect

of denying [him] access to educational opportunities.” Preston, 876 F. Supp. 2d at 242

(denying motion to dismiss ADA and Rehabilitation Act claims where plaintiffs alleged that

school officials “failed to act, acquiesced in the harassment of [disabled plaintiff] and

imposed no discipline on his harassers” despite numerous notifications). As set forth in

Gant, avoiding suit for deliberate indifference requires first, that a defendant was aware

of the harassment, and second, that the defendant respond to known peer harassment in

a manner that is not “clearly unreasonable.” 195 F.3d at 143. Straub is unable to meet

these requirements, as he took no action in response to Keri’s numerous complaints.

Further, Straub’s alleged statement that Gregory was “just trying to get [his harassers] in



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trouble” (TAC at ¶ 56) may also be construed as an unreasonable response to the report

of disability-related bullying. See Gant, 195 F.3d at 143 (noting, in dicta, that a teacher’s

response to a student complaining of racial harassment that “[W]e don't tell on other

students” might allow “a jury to conclude that the statement demonstrated deliberate

indifference to racial name-calling”).

       However, Plaintiffs allegations as to the other individual School Defendants do not

rise to the level of deliberate indifference. With respect to the majority of the School

Defendants, Plaintiffs make no allegation that they were aware of the bullying, or at least

aware that it was related to Gregory’s disability. Plaintiffs allege that Keri contacted

Wolfgang, Geelan, Straub, Kenyon, Schifley, and King to “alert[ ] them to the ongoing

bullying and harassment of her son and to address the lack of any anti-bullying policy in

the district.” (TAC at ¶ 45.) As to the other School Board Members—Zimmer, Quinlan,

Kahm, Black, Farrell, Palmer, and Nuss—they are only alleged to have known about the

harassment because Board Members King and Shiffley allegedly told Keri that “her

concerns would be discussed by the Board and brought to the attention to the full Board

in Executive Session.” (TAC at ¶ 46.) However, again, there is nothing linking Keri’s

report to Gregory’s disability. Accordingly, the claims must be dismissed as to these

Defendants. See Eskenazi-McGibney, 84 F. Supp. 3d at 233 (no viable claim “under the

ADA and [Rehabilitation Act] absent some factual allegation linking the disability and the

bullying”); Doe v. Torrington Bd. of Educ., 179 F. Supp. 3d 179, 196 (D. Conn. 2016).

Plaintiffs also allege that multiple faculty members, including Lowry, Kenyon, and

Hemphill, “spoke negatively about Gregory Spring calling him names such as ‘misfit’,

‘troublemaker’, ‘baby’, etc. in the presence of faculty, staff and students.” (TAC at ¶ 47.)



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However, these comments did not clearly implicate Gregory’s disability. See Cain v.

Mandl Coll. of Allied Health, No. 14-CV-1729 ER, 2015 WL 3457143, at *5 (S.D.N.Y. May

29, 2015) (finding stray remarks of “kook” and “coo coo” did not “clearly implicate

[plaintiff’s] disability”).

        Having determined that Plaintiffs fail to state a claim under the ADA and

Rehabilitation Act as to all individual Defendants except Straub, this Court turns to the

School Defendants’ arguments that the claims against individual defendants must be

dismissed because they are not permitted under the ADA or Rehabilitation Act. Plaintiffs

do not oppose this portion of the School Defendants’ motion to dismiss. “Individual

defendants may not be held personally liable for alleged violations of the ADA, or the

Rehabilitation Act.” Sutherland v. New York State Dep't of Law, No. 96 CIV. 6935 (JFK),

1999 WL 314186, at *7 (S.D.N.Y. May 19, 1999) (internal citations omitted), aff'd, 216

F.3d 1073 (2d Cir. 2000); see also Garcia v. S.U.N.Y. Health Sciences Center of Brooklyn,

280 F.3d 98, 107 (2d Cir. 2001). However, the Second Circuit has held that ADA and

Rehabilitation Act suits “for prospective injunctive relief may, under the doctrine

established by Ex parte Young, 209 U.S. 123, 28 S. Ct. 441, 52 L. Ed. 714 (1908),

proceed against individual officers in their official capacity.” Harris, 572 F.3d at 72

(emphasis added) (citing Henrietta D., 331 F.3d at 289).        “Insofar as the amended

complaint seeks prospective injunctive relief, then, it may be asserted against [Straub] in

[his] official capacit[y].” See id.

        Accordingly, the motion is granted as to claims against Straub in his individual

capacity and any claims for monetary damages, and is otherwise denied.




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C.     State Law Claims

       Plaintiffs’ remaining causes of action arise under New York statutory and common

law: (1) New York Civil Rights Law § 79-n claim against all Defendants (eighth cause of

action); (2) wrongful death claims under EPTL § 5-4.1 against all Defendants (ninth cause

of action); (3) negligence and gross negligence claims against the School Defendants

(tenth and eleventh causes of action); and (4) intentional, reckless, and/or negligent

infliction of emotional distress claim against Lowry (twelfth cause of action).

       1. New York Civil Rights Law § 79-n

       New York Civil Rights Law § 79-n creates a civil cause of action for “[a]ny person

who intentionally selects a person or property for harm or . . . causes physical injury or

death to another” because of, inter alia, a disability. N.Y. Civ. Rights L. § 79-n(2). In

Spring I, this Court noted that “New York Civil Rights Law § 79-n, which establishes a civil

remedy for bias-related violence or intimidation, is a relatively new law” and that “there is

little guidance” as to its applicability because New York courts have not had the

opportunity to consider it. 138 F. Supp. 3d at 300. In the intervening two years, several

courts have considered the statute, though none have interpreted its applicability in the

school bullying context or considered “the extent of ‘harm’ required to state a cause of

action.” See Karam v. Cty. of Rensselaer, New York, No. 113CV01018MADDJS, 2016

WL 51252, at *18 (N.D.N.Y. Jan. 4, 2016) “Without interpretation from other courts

regarding this statute, the legislative history provides a helpful understanding of its

applicability.” Id. (citing Auburn Hous. Auth. v. Martinez, 277 F.3d 138, 143-44 (2d Cir.

2002) (noting that courts may look at legislative history to interpret ambiguous text of a

statute)).



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       The legislative history of § 79-n states that “this new remedy applies only to ‘bias-

related violence or intimidation’” and it is not “available where existing discrimination laws

already provide protection, such as in employment or public housing decisions.” Assemb.

223-529, Reg. Sess. (N.Y. 2010). Accordingly, this Court finds that the claim must be

dismissed as to the School Defendants, against whom Plaintiffs may seek other

remedies, including through the ADA and Rehabilitation Act.             Further, the School

Defendants were not directly responsible for Gregory’s harassment, which at least one

other court has found to be a proper basis for dismissal of a § 79-n claim. See Lopez v.

City of New York, 186 F. Supp. 3d 304, 317 (S.D.N.Y. 2016) (dismissing claim where

plaintiff did not allege that “[d]efendants themselves engaged in acts of violence or

intimidation directed at her”). The School Defendants’ motions to dismiss the § 79-n

claims against them are granted.

       However, Plaintiffs allege that Easton and Roewe each intimidated and made

threats of violence against Gregory, including by “threatening to ‘kill’ and ‘beat’ him.” (TAC

at ¶ 56.) As set forth above, this Court has found that the TAC sufficiently alleges that

the threats and intimidation were related to and because of Gregory’s disability.

Moreover, as Gregory’s fellow students, Easton and Roewe are not liable under the ADA

and Rehabilitation Act, and therefore a claim under § 79-n may be Plaintiffs’ only remedy.

Accordingly, Easton and Roewe’s motions to dismiss the § 79-n claims against them are

denied.

       2. Wrongful Death and Negligence Claims

       In Spring I, this Court dismissed Plaintiffs’ state claims against the School

Defendants without prejudice, on the grounds that Plaintiffs failed to comply with the New



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York state notice of claim requirements. 138 F. Supp. 3d at 300-01. Plaintiffs provide no

basis for this Court to change its determination on the issue. The School Defendants and

Lowry’s motions to dismiss these claims is therefore granted.

          Easton and Roewe argue only that Plaintiffs’ allegations are conclusory and that

Gregory’s suicide is an intervening and superseding cause of his death. This Court has

already found that Plaintiffs’ allegations are sufficient to satisfy the low pleading bar of a

12(b)(6) action.           And, as a matter of New York law, suicide is not necessarily a

superseding cause in a tort action. Sullivan v. Welsh, 132 A.D.2d 945, 518 N.Y.S.2d 274,

275 (4th Dep’t 1987). Accordingly, Easton and Roewe’s motions are denied.

          3. Negligent and Intentional Infliction of Emotional Distress

          Plaintiffs’ final cause of action is “Intentional and/or Reckless and/or Negligent

Infliction of Severe Emotional Distress” against Lowry.3 (TAC ¶¶ 128-32.) Negligent

infliction of emotional distress has been recognized in New York only where a plaintiff can

establish one of the following: he suffered some physical trauma or was caused to fear

for his physical safety, see Mortise v. United States, 102 F.3d 693, 696 (2d Cir. 1996); he

was within the so-called “zone of danger” when an immediate family member was killed

or injured, see Trombetta v. Conkling, 82 N.Y.2d 549, 605 N.Y.S.2d 678, 626 N.E.2d 653

(N.Y. 1993); he was wrongly notified of the death of a near relative, see Johnson v. State,

37 N.Y.2d 378, 372 N.Y.S.2d 638, 334 N.E.2d 590 (N.Y. 1975); or the mortal remains of

a deceased family member were improperly handled, see Lando v. State, 39 N.Y.2d 803,

385 N.Y.S.2d 759, 351 N.E.2d 426 (N.Y. 1976). None of those facts are applicable here.

Therefore, because the New York Court of Appeals has cautioned against extending this


3 Plaintiffs   made clear in their cross-motion that this claim is made only against Lowry. (Docket No. 92-4 at
17.)

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rule beyond these limited categories of cases, see Tebbutt v. Virostek, 65 N.Y.2d 931,

933, 493 N.Y.S.2d 1010, 1011-12, 483 N.E.2d 1142 (N.Y. 1985), a claim for negligent

infliction of emotional distress does not lie. See Nevin v. Citibank, N.A., 107 F. Supp. 2d

333, 346 (S.D.N.Y. 2000) (noting that “the parameters of this tort are extremely narrow”).

      To sustain a claim for intentional infliction of emotional distress, a plaintiff must

demonstrate: “(1) extreme and outrageous conduct, (2) intent to cause severe emotional

distress, (3) a causal connection between the conduct and the injury, and (4) severe

emotional distress.” Bender v. City of New York, 78 F.3d 787, 790 (2d Cir. 1996) (citing

Howell v. New York Post Co., 81 N.Y.2d 115, 596 N.Y.S.2d 350, 612 N.E.2d 699 (N.Y.

1993)). “New York courts have imposed a very high threshold for intentional infliction of

emotional distress claims, requiring that the conduct must be so outrageous and extreme

‘as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.’” Campoverde v. Sony Pictures Entm’t, No.

01 Civ. 7775, 2002 WL 31163804, at *11 (S.D.N.Y. Sept. 30, 2002) (quoting Murphy v.

Am. Home Prods. Corp., 58 N.Y.2d 293, 303, 461 N.Y.S.2d 232, 448 N.E.2d 86 (N.Y.

1983)).

      Plaintiffs allege that Lowry, a teacher’s assistant, together with several other

faculty and staff members, spoke negatively about Gregory and called him names such

as “misfit”, “troublemaker,” and “baby” in the presence of faculty, staff, and students.

(TAC at ¶ 47.) They also allege that, two days after Gregory’s suicide, Lowry “authored

and spoke statements and posted comments via internet and on-line pertaining to

Gregory Spring and his death, falsely accusing him of misconduct and otherwise

disparaging him and inflicting severe emotional distress upon the Plaintiffs herein.” (TAC



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at ¶ 57.)

        Although these allegations are somewhat sparse, in light of the relaxed standard

applicable at the motion-to-dismiss stage, they are sufficient for now to conclude that

Plaintiffs have plausibly pled the necessary elements of intentional infliction of emotional

distress. See Boykin, 521 F.3d at 214 (a plaintiff is not required to provide “specific facts”

at 12(b)(6) stage).       False and disparaging statements regarding a student in the

immediate aftermath of a suicide “go beyond all possible bounds of decency,”

Campoverde, 2002 WL 31163804 at *11, and it can be reasonably inferred that such

actions would result in severe emotional distress to Plaintiffs as Gregory’s grieving family

members. Accordingly, Lowry’s motion to dismiss is denied.

D.      Punitive Damages

        Defendants argue that punitive damages are not permitted in this case. This Court

agrees that punitive damage claims may not be made against municipalities, 4 nor are

they available under the ADA and Rehabilitation Act.                See City of Newport v. Fact

Concerts, Inc., 453 U.S. 247, 271, 101 S. Ct. 2748, 2762, 69 L. Ed. 2d 616 (1981) (“In

sum, we find that considerations of history and policy do not support exposing a

municipality to punitive damages for the bad-faith actions of its officials.”); Barnes v.

Gorman, 536 U.S. 181, 189, 122 S. Ct. 2097, 2103, 153 L. Ed. 2d 230 (2002) (punitive

damages may not be awarded in suits brought under § 202 of the ADA and § 504 of the

Rehabilitation Act).     However, it is not persuaded by Lowry, Easton, and Roewe’s

arguments that punitive damage claims must be denied as to the state claims because


4 This Court considers both the Allegany-Limestone Central School District and the Board of Education of
the Allegany-Limestone Central School District to be municipalities. See Benacquista v. Spratt, 217 F.
Supp. 3d 588, 599 (N.D.N.Y. 2016) (noting that New York school district and associated school board are
“municipal entities”).

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the allegations do not show conduct that is “so reckless or wantonly negligent as to be

the equivalent of a conscious disregard of the rights of others.” Rinaldo v. Mashayekhi,

185 A.D.2d 435, 585 N.Y.S.2d 615 (3d Dep’t 1992) (citations omitted). This Court finds

that, at this early stage of the case, the allegations satisfy the requirement for a “high

degree of moral culpability” and “a conscious disregard of the rights of others.” Marcoux

v. Farm Serv. & Supplies, Inc., 283 F. Supp. 2d 901, 908 (S.D.N.Y. 2003) (collecting

cases).   Accordingly, with respect to the remaining state claims against individual

defendants, the motion is denied.

                                   V.     CONCLUSION

       Plaintiffs’ motion to amend is granted, but they must submit an amended complaint

omitting the claims and parties dismissed pursuant to this order. Under the mandate rule,

Plaintiffs’ equal protection, substantive due process, New York Constitution, and all

retaliation claims are dismissed. The ADA and Rehabilitation Act claims are dismissed

as to all individuals in their personal capacities, and as to all individuals except Straub in

their official capacities. Further, the state law claims under New York Civil Rights Law §

79-n, wrongful death, and negligence are dismissed as to all Defendants except Easton

and Roewe. Punitive damage claims are dismissed as to Allegany-Limestone Central

School District and the Board of Education of the Allegany-Limestone Central School

District on the grounds that they are municipal entities. Otherwise, the motions are

denied.




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                                   VI.   ORDERS

       IT HEREBY IS ORDERED that the motions to dismiss of Defendant Lowry (Docket

No. 85) and the School Defendants (Docket No. 83) are GRANTED in part and DENIED

in part, as stated above;

       FURTHER, that the motions to dismiss of Defendants Roewe and Easton (Docket

Nos. 82, 87) are DENIED;

       FURTHER, that Plaintiffs’ motion to amend (Docket No. 92) is GRANTED in part;

       FURTHER, that Plaintiffs are directed to file their proposed Third Amended

Complaint omitting the dismissed claims and parties, consistent with this Decision and

Order no later than February 15, 2018.

       SO ORDERED.

       Dated: December 19, 2017
       Buffalo, New York
                                                     /s/William M. Skretny
                                                     WILLIAM M. SKRETNY
                                                    United States District Judge




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